              Case
     Fill in this      23-10566-KHK
                  information                   Doc 1
                              to identify your case:        Filed 04/06/23 Entered 04/06/23 16:51:03                              Desc Main
                                                           Document      Page 1 of 90
     United States Bankruptcy Court for the:

     ____________________
     Eastern               District of _________________
             District of Virginia      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7
                                                            
                                                            ✔ Chapter 11
                                                             Chapter 12                                                                 Check if this is an
                                                             Chapter 13                                                                    amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Eagle  Properties and Investments LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               445 Windover Ave North West                              445  Windover Avenue North West
                                                                                                        _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number      Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Vienna                      VA      22180
                                           ______________________________________________
                                                                                                        Vienna                     VA      22180
                                                                                                        _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Fairfax County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
            Case 23-10566-KHK               Doc 1         Filed 04/06/23 Entered 04/06/23 16:51:03                             Desc Main
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                Eagle Properties and Investments LLC
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            531110
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
         Case 23-10566-KHK                     Doc 1       Filed 04/06/23 Entered 04/06/23 16:51:03                               Desc Main
                                                          Document      Page 3 of 90
               Eagle Properties and Investments LLC
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199
                                           ✔
                                                                             10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million
                                                                            ✔
                                                                                                                      $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
         Case 23-10566-KHK                   Doc 1        Filed 04/06/23 Entered 04/06/23 16:51:03                                Desc Main
                                                         Document      Page 4 of 90
             Eagle Properties and Investments LLC
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million
                                                                                 ✔
                                                                                                                        $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            04/06/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Amit Jain
                                             _____________________________________________               Amit Jain
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    Manager
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ Nancy Greene
                                             _____________________________________________              Date         04/06/2023
                                                                                                                     _________________
                                              Signature of attorney for debtor                                       MM   / DD / YYYY



                                              Nancy Greene
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Law Offices of SRIS, P.C.
                                             _________________________________________________________________________________________________
                                             Firm name
                                              4008 Williamsburg Court,
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Fairfax
                                             ____________________________________________________             VA            22032
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              +1 07032780405
                                             ____________________________________                              ndg@ndglaw.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              38984                                                           VA
                                             ______________________________________________________ ____________
                                             Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
              Case 23-10566-KHK                                      Doc 1             Filed 04/06/23 Entered 04/06/23 16:51:03                                                                    Desc Main
                                                                                      Document      Page 5 of 90

 Fill in this information to identify the case:

                Eagle Properties and Investments LLC
  Debtor name _________________________________________________________________

                                          Eastern District of Virginia
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                        9,374,150.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                          55,650.00
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         9,429,800.00
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                      10,681,146.70
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                          189,594.57
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        3,845,394.95



4. Total liabilities ...........................................................................................................................................................................       14,716,136.22
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
              Case 23-10566-KHK                    Doc 1      Filed 04/06/23 Entered 04/06/23 16:51:03                             Desc Main
                                                             Document      Page 6 of 90
      Fill in this information to identify the case:

                    Eagle Properties and Investments LLC
      Debtor name __________________________________________________________________

                                              Eastern District of Virginia
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                       Check if this is an
      Case number (If known):   _________________________                                                                                  amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                    12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete              Name, telephone number,    Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code        and email address of       (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                                creditor contact           debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                           professional        unliquidated, total claim amount and deduction for value of
                                                                           services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                Total claim, if   Deduction for      Unsecured
                                                                                                                partially         value of           claim
                                                                                                                secured           collateral or
                                                                                                                                  setoff
     Bala Jain LLC                                                        Loans                  Disputed
1    6007 Marilyn Drive
                                                                                                                400,000.00        840,000.00        3,334,000.00
     Alexandria, VA, 22310


     Bala Jain LLC                                                        Monies Loaned /        Disputed
2    6007 Marilyn Drive                                                   Advanced
     Alexandria, VA
                                                                                                                                                    500,000.00


     County of Fairfax                                                    Taxes & Other
3    Department of Tax Administration,                                    Government Units
     Revenue Collection Division, 12000,
                                                                                                                                                    9,294.72
     Government Centre Parkway
     Suite 223
     Fairfax, VA, 22035
     City of Richmond                                                     Taxes & Other
4    Division of Collections PO Box 26505                                 Government Units
     Richmond, VA, 23261                                                                                                                            8,991.23


     County of Fairfax                                                    Taxes & Other
5    Department of Tax Administration,                                    Government Units
     Revenue Collection Division, 12000,                                                                                                            8,891.77
     Government Centre Parkway
     Suite 223
     Fairfax,
     County ofVA, 22035
               Fairfax                                                    Taxes & Other
6    Department of Tax Administration,                                    Government Units
     Revenue Collection Division, 12000,                                                                                                            8,826.67
     Government Centre Parkway
     Suite 223
     Fairfax, VA, 22035
     County of Fairfax                                                    Taxes & Other
7    Department of Tax Administration,                                    Government Units
     Revenue Collection Division, 12000,                                                                                                            8,398.89
     Government Centre Parkway
     Suite 223
     Fairfax,
     DepartmentVA, 22035
                    of Finance Howard county                              Taxes & Other
8    Property Tax Division, 3430, Court House                             Government Units
     Drive                                                                                                                                          7,982.33
     Ellicott City, MD, 21043




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              page 1
              Case 23-10566-KHK                   Doc 1      Filed 04/06/23 Entered 04/06/23 16:51:03                             Desc Main
                                                            Document      Page 7 of 90
                   Eagle Properties and Investments LLC
    Debtor        _______________________________________________________                     Case number (if known)_____________________________________
                  Name




     Name of creditor and complete             Name, telephone number,    Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code       and email address of       (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                               creditor contact           debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                          professional        unliquidated, total claim amount and deduction for value of
                                                                          services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                               Total claim, if   Deduction for      Unsecured
                                                                                                               partially         value of           claim
                                                                                                               secured           collateral or
                                                                                                                                 setoff
     County of Fairfax                                                   Taxes & Other
9    Department of Tax Administration,                                   Government Units
     Revenue Collection Division, 12000,                                                                                                           7,808.78
     Government Centre Parkway
     Suite 223
     Fairfax, VA, 22035
     County of Fairfax                                                   Taxes & Other
10   Department of Tax Administration,                                   Government Units
     Revenue Collection Division, 12000,                                                                                                           7,808.78
     Government Centre Parkway
     Suite 223
     Fairfax, VA, 22035
     Dauphin County Office of Tax Claim                                  Taxes & Other
11   Bureau                                                              Government Units
     Dauphin County Administration Building,                                                                                                       7,773.37
     2, South second Street, First Floor
     PO Box No 1295
     Harrisburg, PA, 17108
     Dauphin County   Office of Tax Claim                                Taxes & Other
12   Bureau                                                              Government Units
     Dauphin County Administration Building,                                                                                                       7,305.60
     2, South second Street, First Floor
     PO Box No 1295
     Harrisburg, PA, 17108
     Dauphin County Office of Tax Claim                                  Taxes & Other
13   Bureau                                                              Government Units
     Dauphin County Administration Building,                                                                                                       6,601.85
     2, South second Street, First Floor
     PO Box No 1295
     Harrisburg, PA, 17108
     Dauphin County   Office of Tax Claim                                Taxes & Other
14   Bureau                                                              Government Units
     Dauphin County Administration Building,                                                                                                       6,358.56
     2, South second Street, First Floor
     PO Box No 1295
     Harrisburg, PA, 17108
     Dauphin County Office of Tax Claim                                  Taxes & Other
15   Bureau                                                              Government Units
     Dauphin County Administration Building,
                                                                                                                                                   6,022.78
     2, South second Street, First Floor
     PO Box No 1295
     Harrisburg, PA, 17108
     Dauphin County   Office of Tax Claim                                Taxes & Other
16 Bureau                                                                Government Units
   Dauphin County Administration Building,                                                                                                         5,583.18
   2, South second Street, First Floor
   PO Box No 1295
   Harrisburg, PA, 17108
   Dauphin County Office of Tax Claim                                    Taxes & Other
17 Bureau                                                                Government Units
   Dauphin County Administration Building,
   2, South second Street, First Floor                                                                                                             5,448.39
   PO Box No 1295
   Harrisburg, PA, 17108
   Dauphin County Office of Tax Claim                                    Taxes & Other
18 Bureau                                                                Government Units
   Dauphin County Administration Building,                                                                                                         4,643.16
   2, South second Street, First Floor
   PO Box No 1295
   Harrisburg, PA, 17108
   Dauphin County   Office of Tax Claim                                  Taxes & Other
19 Bureau                                                                Government Units
   Dauphin County Administration Building,
   2, South second Street, First Floor                                                                                                             4,616.97
   PO Box No 1295
   Harrisburg, PA, 17108
   Dauphin County Office of Tax Claim                                    Taxes & Other
20 Bureau                                                                Government Units
   Dauphin County Administration Building,                                                                                                         4,605.37
   2, South second Street, First Floor
   PO Box No 1295
   Harrisburg, PA, 17108




    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 2
            Case 23-10566-KHK                          Doc 1    Filed 04/06/23 Entered 04/06/23 16:51:03                         Desc Main
                                                               Document      Page 8 of 90
  Fill in this information to identify the case:

               Eagle Properties and Investments LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Eastern District of Virginia
  Case number (If known):     _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    ✔




     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    0.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                   Type of account             Last 4 digits of account number
          Capital One
    3.1. _________________________________________________  Checking
                                                           ______________________              ____ ____ ____ ____               $______________________
                                                                                                                                   1,500.00
          See continuation sheet
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____                 13,900.00
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 15,400.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    ✔


    Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                              page 1
            Case 23-10566-KHK                     Doc 1      Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
Debtor           Eagle Properties and Investments LLC       Document
                _______________________________________________________   Page 9 of 90
                                                                                    Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     0.00
                                  ____________________________    0.00
                                                               – ___________________________          = ........                   0.00
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         5,813,000.00
                                   ___________________________    5,813,000.00
                                                               – ___________________________          = ........                   0.00
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                 0.00
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
            Case 23-10566-KHK                   Doc 1       Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
                Eagle Properties and Investments LLC
Debtor                                                     Document
               _______________________________________________________   Page 10 of Case
                                                                                     90 number (if known)_____________________________________
               Name




Pa rt 5 :   I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                              Date of the last         Net book value of        Valuation method used      Current value of
                                                       physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                (Where available)
19. Raw materials
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

20. Work in progress
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________


23. Total of Part 5                                                                                                                $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
      No
      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value _______________              Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
      No
      Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                       Net book value of        Valuation method used      Current value of debtor’s
                                                                                debtor's interest        for current value          interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________               $________________         ____________________    $______________________


Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                  page 3
            Case 23-10566-KHK                   Doc 1       Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
Debtor
                Eagle Properties and Investments LLC       Document
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                                                                                     90 number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture
5 Desk Custom Made
                                                                                    15.00
                                                                                  $________________   ____________________       10,500.00
                                                                                                                               $______________________
40. Office fixtures
Electrical Supplies
                                                                                    4,500.00
                                                                                  $________________   ____________________       3,150.00
                                                                                                                               $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
4 Computers                                                                         3,600.00                                     2,520.00
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles
         15 Paintings
    42.1___________________________________________________________                 2,750.00
                                                                                  $________________    ____________________      1,925.00
                                                                                                                               $______________________
         10 Wall Decoration Pieces
    42.2___________________________________________________________                 1,700.00
                                                                                  $________________    ____________________      1,190.00
                                                                                                                               $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                 40,250.00
                                                                                                                               $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
            Case 23-10566-KHK                  Doc 1       Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
                 Eagle Properties and Investments LLC
 Debtor                                                   Document
                _______________________________________________________ Page 12 of Case
                                                                                    90 number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          2021 Lincoln Navigator                                             0.00                 Lease                   Unknown
    47.1___________________________________________________________         $________________    ____________________   $______________________

    47.2___________________________________________________________         $________________    ____________________   $______________________

    47.3___________________________________________________________         $________________    ____________________   $______________________

    47.4___________________________________________________________         $________________    ____________________   $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________     ____________________   $______________________

    48.2__________________________________________________________         $________________     ____________________   $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________     ____________________   $______________________

    49.2__________________________________________________________         $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________         $________________     ____________________   $______________________


51. Total of Part 8.                                                                                                      0.00
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
      No
     
     ✔ Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔ No
      Yes




 Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                       page 5
             Case  23-10566-KHK Doc 1
               Eagle Properties and Investments LLC
                                                                Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
 Debtor                                                        Document
                  _______________________________________________________    Page 13 of Case
                                                                                         90 number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used     Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value         debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       2565 Chain Bridge Rd Vienna, Va 22181                   Owned
55.1
                                                                                      880,000.00          Trulia less rehab costs    805,650.00
                                                                                     $_______________     ____________________      $_____________________
       6958 New Oxford Rd, Harrisburg, Pa 17112               Owned
55.2
                                                                                      275.00              Zillow                     307,500.00
                                                                                     $_______________     ____________________      $_____________________
       See continuation sheet
55.3
                                                                                      2,176,264.00                                   8,261,000.00
                                                                                     $_______________     ____________________      $_____________________


56. Total of Part 9.                                                                                                                 9,374,150.00
                                                                                                                                    $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
        No
       
       ✔ Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
        No
       
       ✔ Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                          Net book value of    Valuation method          Current value of
                                                                                     debtor's interest    used for current value    debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________    $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________   ______________________     $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________     $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________   ______________________     $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________     $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________     $____________________

66. Total of Part 10.
                                                                                                                                    $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                             page 6
            Case 23-10566-KHK                           Doc 1    Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
Debtor            Eagle Properties and Investments LLC          Document
                 _______________________________________________________      Page 14 of Case
                                                                                          90 number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
      ✔


     Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
     Description (include name of obligor)
                                                                         _______________ –   __________________________         =   $_____________________
     ______________________________________________________
                                                                         Total face amount   doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________
78. Total of Part 11.
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Official Form 206A/B                                             Schedule A/B: Assets  Real and Personal Property                               page 7
              Case 23-10566-KHK                           Doc 1         Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
                   Eagle Properties and Investments LLC
Debtor                                                                 Document
                  _______________________________________________________            Page 15 of Case
                                                                                                 90 number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         15,400.00
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         40,250.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            9,374,150.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      0.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         55,650.00                         9,374,150.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  9,429,800.00                                                                                   9,429,800.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................   $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                             page 8
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                Eagle Properties and Investments LLC          Document      Page 16 of 90
 Debtor 1                                                                _                  Case number (if known)
               First Name    Middle Name          Last Name



                                                       Continuation Sheet for Official Form 206 A/B
3) Checking, savings, money market, or financial brokerage accounts

Capital One                                   Checking                                  0251

Balance: 3,000.00

Fulton Bank                                   Checking                                  1206

Balance: 1,500.00

Virginia Partners Bank                        Checking                                  1616

Balance: 5,000.00

Bank Of Clarke                                Checking                                  6121

Balance: 2,000.00

Main Street Bank                              Checking

Balance: 1,300.00

Orrstown Bank                                 Checking

Balance: 800.00

Atlantic Union Bank                           Checking

Balance: 300.00


55) Real property

3012 Dupont Ave                     110,000.00                        Zillow                              158,700.00
Baltimore, Md 21215

Owned

897 W Lombard St                    50,000.00                         Zillow less                         140,000.00
Baltimore, Md 21201                                                   estimated
                                                                      completion costs

Owned

71 Lucy Ave                         200,000.00                        Zillow                              240,000.00
Hummelstown Pa
17036

Owned

3110 P Street                       47,500.00                         Zillow                              40,000.00
Richmond Va 23223

Owned

249 Berkstone Dr                    256,000.00                        Zillow less rehab                   322,000.00
Harrisburg Pa 17112                                                   costs

Owned




Official Form 206 A/B                                                  Schedule A/B: Property
            Case 23-10566-KHK                   Doc 1          Filed 04/06/23 Entered 04/06/23 16:51:03                Desc Main
                Eagle Properties and Investments LLC          Document      Page 17 of 90
 Debtor 1                                                                _                  Case number (if known)
               First Name    Middle Name          Last Name



                                                       Continuation Sheet for Official Form 206 A/B
213 N Port Street                   57.00                             Zillow                              217,700.00
Baltimore Md 21224

Owned

7180 Jonestown Rd                   265.00                            Zillow less rehab                   294,000.00
Harrisburg Pa 17112                                                   costs

Owned

6961 Sterling Rd,                   236.00                            Zillow less rehab                   226,400.00
€Harrisburg, Pa                                                       costs
17112

Owned

15474 Roxbury Rd                    650,000.00                        Zillow less rehab                   719,400.00
Glenwood Md 21738                                                     costs

Owned

449 Lawyers Rd Nw                   560.00                            Zillow less rehab                   720,000.00
Vienna, Va 22180                                                      costs

Owned

204 S Fairville                     220.00                            Zillow less rehab                   175,000.00
Ave Harrisburg Pa                                                     costs
17112

Owned

1635 Church Rd                      340.00                            Zillow less rehab                   534,000.00
Hershey Pa 17033                                                      costs

Owned

1343 Church Rd                      335.00                            Zillow reduced for                  289,700.00
Hershey Pa 17033                                                      unfinished basement

Owned

580 W Areba Ave                     270.00                            Zillow less rehab                   479,900.00
Hershey, Pa 17033                                                     costs

Owned

1630 E Chocolate                    171.00                            Zillow less rehab                   120,600.00
Ave Hershey Pa                                                        costs
17033

Owned

7939 Rider Ln                       300.00                            Zillow less rehab                   271,000.00
Hummelstown, Pa                                                       costs
17036   Rehab $68,
000

Owned




Official Form 206 A/B                                                  Schedule A/B: Property
            Case 23-10566-KHK                   Doc 1          Filed 04/06/23 Entered 04/06/23 16:51:03                Desc Main
                Eagle Properties and Investments LLC          Document      Page 18 of 90
 Debtor 1                                                                _                  Case number (if known)
               First Name    Middle Name          Last Name



                                                       Continuation Sheet for Official Form 206 A/B
1203 Cottage St Sw                  550.00                            Zillow                              570,000.00
Vienna, Va 22180

Owned

202 N Port St                       58,000.00                         Zillow less rehab                   116,200.00
Baltimore Md 21224                                                    costs

Owned

1010 Lynn St Sw                     539.00                            Zillow less rehab                   720,000.00
Vienna, Va 22180                                                      costs

Owned

7213 Linglestown                    370.00                            Zillow less rehab                   362,500.00
Rd, Harrisburg, Pa                                                    costs
17112

Owned

7616 Grove Ave,                     191.00                            Zillow less rehab                   176,700.00
Harrisburg Pa.                                                        costs

Owned

445 Windover Ave,                   800,000.00                        Zillow                              840,000.00
NW, Vienna, VA
22180

owned

1001 Manning Dr                     170.00                            Zillow less rehab                   195,000.00
Falmouth, Va 22405                                                    costs

Owned

3002 Williamsburg                   190.00                            Zillow less rehab                   332,200.00
Road Richmond Va                                                      costs
23231

Owned




Official Form 206 A/B                                                  Schedule A/B: Property
             Case 23-10566-KHK                            Doc 1      Filed 04/06/23 Entered 04/06/23 16:51:03                                    Desc Main
                                                                    Document      Page 19 of 90
  Fill in this information to identify the case:
              Eagle Properties and Investments LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Eastern District of Virginia

  Case number (If known):       _________________________                                                                                             Check if this is an
                                                                                                                                                          amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                              12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                               Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                Amount of claim           Value of collateral
                                                                                                                               Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien          of collateral.            claim
     Asset Based Lending                                         7180 Jonestown Rd Harrisburg Pa 17112
      __________________________________________                                                                                 217,000.00
                                                                                                                               $__________________          294,000.00
                                                                                                                                                          $_________________

     Creditor’s mailing address

      PO BOX 27370
      ________________________________________________________
      Anaheim, CA 92809
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                  _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________          
                                                                 ✔ No

    Last 4 digits of account                                      Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                
                                                                 ✔ No

    same property?                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Asset Based Lending
                                                                 6961 Sterling Rd,€Harrisburg, Pa 17112                        $__________________
                                                                                                                                202,000.00                $_________________
                                                                                                                                                           226,400.00
      __________________________________________
     Creditor’s mailing address
      PO BOX 27370
      ________________________________________________________
      Anaheim, CA 92809
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔ No
    same property?                                                Yes
    
    ✔ No
                                                                 Is anyone else liable on this claim?
     Yes. Have you already specified the relative                No
           priority?
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          No. Specify each creditor, including this
                creditor, and its relative priority.             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
          Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                       Disputed
 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  10,681,146.70
                                                                                                                                $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        21
                                                                                                                                                            page 1 of ___
               Case   23-10566-KHK Doc 1
                Eagle Properties and Investments LLC
                                                                    Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor            _______________________________________________________
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                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Asset Based Lending
                                                                7213 Linglestown Rd, Harrisburg, Pa 17112
     __________________________________________                                                                                287,000.00
                                                                                                                              $__________________      362,500.00
                                                                                                                                                      $_________________
     Creditor’s mailing address

     PO BOX 27370
     ________________________________________________________

     Anaheim, CA 92809
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            __________________        Describe the lien
    Last 4 digits of account
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔ No
    same property?                                               Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No
            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
            Yes. The relative priority of creditors is          Unliquidated
                    specified on lines _____                     Disputed

2.__
  4 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Atlantic Union Bank
                                                                445 Windover Ave, NW, Vienna, VA 22180
     __________________________________________                                                                                400,000.00
                                                                                                                              $__________________       840,000.00
                                                                                                                                                      $_________________
     Creditor’s mailing address


      8221 Old Courthouse Rd Ste 100,
     ________________________________________________________

      Tysons, VA 22182
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

     No                                                         Yes
    
    ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No

           
           ✔ No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.

     Bala Jain LLC, 0th; Atlantic Union                         As of the petition filing date, the claim is:
                                                                Check all that apply.
     Bank, 1st
                                                                 Contingent
        Yes. The relative priority of creditors is              Unliquidated
                    specified on lines _____                     Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
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                Eagle Properties and Investments LLC
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  Debtor            _______________________________________________________
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                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  5 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Bala Jain

     __________________________________________                                                                                350,000.00
                                                                                                                              $__________________      0.00
                                                                                                                                                      $_________________
     Creditor’s mailing address

     6007 Marilyn Dr.
     ________________________________________________________

     Alexandria, VA 22310
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            __________________        Describe the lien
    Last 4 digits of account
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔ No
    same property?                                               Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No
            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
            Yes. The relative priority of creditors is          Unliquidated
                    specified on lines _____                     Disputed

2.__
  6 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Bala Jain LLC
                                                                1203 Cottage St Sw Vienna, Va 22180
      __________________________________________                                                                               380,000.00
                                                                                                                              $__________________       570,000.00
                                                                                                                                                      $_________________
     Creditor’s mailing address


      6007 Marilyn Drive
     ________________________________________________________

      Alexandria, VA 22310
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

     No                                                         Yes
    
    ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No

           
           ✔ No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.

     Fulton Bank, 1st; Bala Jain LLC,                           As of the petition filing date, the claim is:
                                                                Check all that apply.
     2nd
                                                                 Contingent
        Yes. The relative priority of creditors is              Unliquidated
                    specified on lines _____                     Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
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                Eagle Properties and Investments LLC
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  Debtor            _______________________________________________________
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                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  7 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Bala Jain LLC
                                                                3110 P Street Richmond Va 23223
     __________________________________________                                                                                210,000.00
                                                                                                                              $__________________      40,000.00
                                                                                                                                                      $_________________
     Creditor’s mailing address

     6007 Marilyn Drive
     ________________________________________________________

     Alexandria, VA 22310
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            __________________        Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔ No
    same property?                                               Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No
            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
            Yes. The relative priority of creditors is          Unliquidated
                    specified on lines _____                     Disputed

2.__
  8 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Bala Jain LLC
                                                                1001 Manning Dr Falmouth, Va 22405
      __________________________________________                                                                               80,000.00
                                                                                                                              $__________________       195,000.00
                                                                                                                                                      $_________________
     Creditor’s mailing address


      6007 Marilyn Drive
     ________________________________________________________

      Alexandria, VA 2310
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

     No                                                         Yes
    
    ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No

           
           ✔ No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.

     Fulton Bank, 1st; Bala Jain LLC,                           As of the petition filing date, the claim is:
                                                                Check all that apply.
     2nd
                                                                 Contingent
        Yes. The relative priority of creditors is              Unliquidated
                    specified on lines _____                     Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
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                Eagle Properties and Investments LLC
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  Debtor            _______________________________________________________
                                                                    Document      Page 23 of Case
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                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  9 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Bala Jain LLC
                                                                 15474 Roxbury Rd Glenwood Md 21738
      __________________________________________                                                                                375,000.00
                                                                                                                               $__________________      719,400.00
                                                                                                                                                       $_________________
     Creditor’s mailing address

      6007 Marilyn Drive
      ________________________________________________________

      Alexandria, VA 22310
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred           __________________         Describe the lien
     Last 4 digits of account                                     Agreement you made
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
      No
     
     ✔ Yes. Have you already specified the relative
                                                                 Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
           
           ✔ No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.

     Bank Of Clarke, 1st; Bala Jain                              As of the petition filing date, the claim is:
                                                                 Check all that apply.
     LLC, 2nd
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

2.__
  10 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Bala Jain LLC
                                                                 1010 Lynn St Sw Vienna, Va 22180
      __________________________________________                                                                                300,000.00
                                                                                                                               $__________________       720,000.00
                                                                                                                                                       $_________________
     Creditor’s mailing address


       6007 Marilyn Drive
      ________________________________________________________

       Alexandria, VA 2231-
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   Disputed - Debtor denies signing deed of trust
                                                                  __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔ No

      No                                                         Yes
     
     ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

           
           ✔ No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.

     Community Bank Of Chesapeake,                               As of the petition filing date, the claim is:
                                                                 Check all that apply.
     1st; Gus Goldsmith, 2nd; Bala
     Jain                                                         Contingent
        LLC,    3rdrelative priority of creditors is
           Yes. The                                               Unliquidated
                    specified on lines _____                      Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
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  Debtor            _______________________________________________________
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                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  11 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Bala Jain LLC
                                                                 2565 Chain Bridge Rd Vienna, Va 22181
      __________________________________________                                                                                500,000.00
                                                                                                                               $__________________      805,650.00
                                                                                                                                                       $_________________
     Creditor’s mailing address

      6007 Marilyn Drive
      ________________________________________________________

      Alexandria, VA 22310
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred           __________________         Describe the lien
     Last 4 digits of account                                     Agreement you made
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
      No
     
     ✔ Yes. Have you already specified the relative
                                                                 Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
           
           ✔ No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.

     Virginia Partners Bank, 1st; Bala                           As of the petition filing date, the claim is:
                                                                 Check all that apply.
     Jain LLC, 2nd
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

2.__
  12 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Bala Jain LLC
                                                                 445 Windover Ave, NW, Vienna, VA 22180
      __________________________________________                                                                                400,000.00
                                                                                                                               $__________________       840,000.00
                                                                                                                                                       $_________________
     Creditor’s mailing address


       6007 Marilyn Drive
      ________________________________________________________

       Alexandria, VA 22310
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   , Debtor disputes it signed this DOT
                                                                  __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔ No

      No                                                         Yes
     
     ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
           
           ✔ Yes. The relative priority of creditors is
                                                                  Unliquidated
                 specified on lines _____
                                     2.4                          Disputed

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                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  13 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Bala Jain LLC
                                                                 202 N Port St Baltimore Md 21224
      __________________________________________                                                                                170,000.00
                                                                                                                               $__________________      116,200.00
                                                                                                                                                       $_________________
     Creditor’s mailing address

      6007 Marilyn Drive
      ________________________________________________________

      Alexandria, VA 22310
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred           __________________         Describe the lien
     Last 4 digits of account
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
      No
     
     ✔ Yes. Have you already specified the relative
                                                                 Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
           
           ✔ No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.

     Main Street Bank, 1st; Bala Jain                            As of the petition filing date, the claim is:
                                                                 Check all that apply.
     LLC, 2nd
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

2.__
  14 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Bala Jain LLC
                                                                 3012 Dupont Ave Baltimore, Md 21215
      __________________________________________                                                                                198,000.00
                                                                                                                               $__________________       158,700.00
                                                                                                                                                       $_________________
     Creditor’s mailing address


       6007 Marilyn Drive
      ________________________________________________________

       Alexandria, VA 22310
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   Agreement you made
                                                                  __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔ No

      No                                                         Yes
     
     ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

           
           ✔ No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.

     Main Street Bank, 1st; Bala Jain                            As of the petition filing date, the claim is:
                                                                 Check all that apply.
     LLC, 2nd
                                                                  Contingent
        Yes. The relative priority of creditors is               Unliquidated
                    specified on lines _____                      Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
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  Debtor            _______________________________________________________
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                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  15 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Bala Jain LLC
                                                                 71 Lucy Ave Hummelstown Pa 17036
      __________________________________________                                                                                198,000.00
                                                                                                                               $__________________      240,000.00
                                                                                                                                                       $_________________
     Creditor’s mailing address

      6007 Marilyn Drive
      ________________________________________________________

      Alexandria, VA 22310
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred           __________________         Describe the lien
     Last 4 digits of account                                     Agreement you made
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
     
     ✔ No

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

2.__
  16 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Bala Jain LLC
                                                                 897 W Lombard St Baltimore, Md 21201
      __________________________________________                                                                                165,000.00
                                                                                                                               $__________________       140,000.00
                                                                                                                                                       $_________________
     Creditor’s mailing address


       6007 Marilyn Drive
      ________________________________________________________

       Alexandria, VA 22310
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔ No

     
     ✔ No                                                         Yes
      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

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  Debtor            _______________________________________________________
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                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  17 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Bala Jain LLC
                                                                 449 Lawyers Rd Nw Vienna, Va 22180
      __________________________________________                                                                                340,000.00
                                                                                                                               $__________________      720,000.00
                                                                                                                                                       $_________________
     Creditor’s mailing address

      6007 Marilyn Drive
      ________________________________________________________

      Alexandria, VA 22310
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred           __________________         Describe the lien
     Last 4 digits of account                                     , Debtor disputes it signed a DOT for this property
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
      No
     
     ✔ Yes. Have you already specified the relative
                                                                 Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
           
           ✔ No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.

     Fulton Bank, 1st; Gus Goldsmith,                            As of the petition filing date, the claim is:
                                                                 Check all that apply.
     2nd; Bala Jain LLC, 3rd
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                     
                                                                 ✔ Disputed



2.__
  18 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Bank Of Clarke
                                                                 1635 Church Rd Hershey Pa 17033
      __________________________________________                                                                                261,410.28
                                                                                                                               $__________________       534,000.00
                                                                                                                                                       $_________________
     Creditor’s mailing address


       110 Crock Wells Mill Drive
      ________________________________________________________

       Winchester, VA 22603
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔ No

     
     ✔ No                                                         Yes
      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
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               Case   23-10566-KHK Doc 1
                Eagle Properties and Investments LLC
                                                                    Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor            _______________________________________________________
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                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  19 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      Bank Of Clarke
                                                                249 Berkstone Dr Harrisburg Pa 17112
     __________________________________________                                                                                197,235.00
                                                                                                                              $__________________      322,000.00
                                                                                                                                                      $_________________
     Creditor’s mailing address

     110 Crock Wells Mill Drive
     ________________________________________________________

     Winchester, VA 22603
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            __________________        Describe the lien
    Last 4 digits of account
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔ No
    same property?                                               Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No
            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
            Yes. The relative priority of creditors is          Unliquidated
                    specified on lines _____                     Disputed

2.__
  20 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      Bank Of Clarke
                                                                15474 Roxbury Rd Glenwood Md 21738
     __________________________________________                                                                                501,478.65
                                                                                                                              $__________________       719,400.00
                                                                                                                                                      $_________________
     Creditor’s mailing address


      110 Crock Wells Mill Drive
     ________________________________________________________

      Winchester, VA 22603
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

     No                                                         Yes
    
    ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No

            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
           
           ✔ Yes. The relative priority of creditors is
                                                                 Unliquidated
                 specified on lines _____
                                     2.3                         Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
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                                                                                                                                                                      21
               Case   23-10566-KHK Doc 1
                Eagle Properties and Investments LLC
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  Debtor            _______________________________________________________
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                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  21 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      Bank Of Clarke County
                                                                204 S Fairville Ave Harrisburg Pa 17112
     __________________________________________                                                                                168,858.15
                                                                                                                              $__________________      175,000.00
                                                                                                                                                      $_________________
     Creditor’s mailing address

     2 East Main Street
     ________________________________________________________

     Berryville, VA 22611
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            __________________        Describe the lien
    Last 4 digits of account
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔ No
    same property?                                               Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No
            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
            Yes. The relative priority of creditors is          Unliquidated
                    specified on lines _____                     Disputed

2.__
  22 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      Community Bank Of Chesapeake
                                                                1010 Lynn St Sw Vienna, Va 22180
     __________________________________________                                                                                550,000.00
                                                                                                                              $__________________       720,000.00
                                                                                                                                                      $_________________
     Creditor’s mailing address


      202 Centennial St,
     ________________________________________________________

      La Plata, MD 20646
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

     No                                                         Yes
    
    ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No

            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
           
           ✔ Yes. The relative priority of creditors is
                                                                 Unliquidated
                 specified on lines _____
                                     2.4                         Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
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               Case   23-10566-KHK Doc 1
                Eagle Properties and Investments LLC
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  Debtor            _______________________________________________________
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                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  23 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Fulton Bank
                                                                 7939 Rider Ln Hummelstown, Pa 17036
      __________________________________________                 Rehab $68,000                                                  210,776.73
                                                                                                                               $__________________      271,000.00
                                                                                                                                                       $_________________
     Creditor’s mailing address

      625 Elden St,
      ________________________________________________________

      Herndon, VA 20170
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred           __________________         Describe the lien
     Last 4 digits of account
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
     
     ✔ No

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

2.__
  24 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Fulton Bank
                                                                 580 W Areba Ave Hershey, Pa 17033
      __________________________________________                                                                                200,997.81
                                                                                                                               $__________________       479,900.00
                                                                                                                                                       $_________________
     Creditor’s mailing address


       625 Elden St,
      ________________________________________________________

       Herndon, VA 20170
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔ No

     
     ✔ No                                                         Yes
      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
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               Case   23-10566-KHK Doc 1
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                                                                    Document      Page 31 of Case
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                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  25 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Fulton Bank
                                                                 1630 E Chocolate Ave Hershey Pa 17033
      __________________________________________                                                                                141,442.68
                                                                                                                               $__________________      120,600.00
                                                                                                                                                       $_________________
     Creditor’s mailing address

      625 Elden St,
      ________________________________________________________

      Herndon, VA 20170
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred           __________________         Describe the lien
     Last 4 digits of account
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
     
     ✔ No

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

2.__
  26 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Fulton Bank
                                                                 1001 Manning Dr Falmouth, Va 22405
      __________________________________________                                                                                152,899.91
                                                                                                                               $__________________       195,000.00
                                                                                                                                                       $_________________
     Creditor’s mailing address


       625 Elden St,
      ________________________________________________________

       Herndon, VA 20170
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔ No

      No                                                         Yes
     
     ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
           
           ✔ Yes. The relative priority of creditors is
                                                                  Unliquidated
                 specified on lines _____
                                     2.4                          Disputed

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  Debtor            _______________________________________________________
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                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  27 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Fulton Bank
                                                                 7616 Grove Ave, Harrisburg Pa.
      __________________________________________                                                                                222,261.77
                                                                                                                               $__________________      176,700.00
                                                                                                                                                       $_________________
     Creditor’s mailing address

      625 Elden St,
      ________________________________________________________

      Herndon, VA 20170
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred           __________________         Describe the lien
     Last 4 digits of account
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
     
     ✔ No

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

2.__
  28 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Fulton Bank
                                                                 1343 Church Rd Hershey Pa 17033
      __________________________________________                                                                                241,415.64
                                                                                                                               $__________________       289,700.00
                                                                                                                                                       $_________________
     Creditor’s mailing address


       625 Elden St,
      ________________________________________________________

       Herndon, VA 20170
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔ No

     
     ✔ No                                                         Yes
      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

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                Eagle Properties and Investments LLC
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  Debtor            _______________________________________________________
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                                                                                              90 number (if known)_____________________________________
                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  29 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Fulton Bank
                                                                 3002 Williamsburg Road Richmond Va
      __________________________________________                 23231                                                          241,391.38
                                                                                                                               $__________________      332,200.00
                                                                                                                                                       $_________________
     Creditor’s mailing address

      625 Elden St,
      ________________________________________________________

      Herndon, VA 20170
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred           __________________         Describe the lien
     Last 4 digits of account
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
     
     ✔ No

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

2.__
  30 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Fulton Bank
                                                                 213 N Port Street Baltimore Md 21224
      __________________________________________                                                                                130,963.65
                                                                                                                               $__________________       217,700.00
                                                                                                                                                       $_________________
     Creditor’s mailing address


       625 Elden St,
      ________________________________________________________

       Herndon, VA 20170
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔ No

     
     ✔ No                                                         Yes
      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

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                Eagle Properties and Investments LLC
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  Debtor            _______________________________________________________
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                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  31 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Fulton Bank
                                                                 1203 Cottage St Sw Vienna, Va 22180
      __________________________________________                                                                                522,094.41
                                                                                                                               $__________________      570,000.00
                                                                                                                                                       $_________________
     Creditor’s mailing address

      625 Elden St,
      ________________________________________________________

      Herndon, VA 20170
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred           __________________         Describe the lien
     Last 4 digits of account
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
      No
     
     ✔ Yes. Have you already specified the relative
                                                                 Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
           
           ■
             Yes. The relative priority of creditors is           Unliquidated
                                      2.4
                 specified on lines _____                         Disputed

2.__
  32 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Fulton Bank
                                                                 449 Lawyers Rd Nw Vienna, Va 22180
      __________________________________________                                                                                536,855.91
                                                                                                                               $__________________       720,000.00
                                                                                                                                                       $_________________
     Creditor’s mailing address


       625 Elden St,
      ________________________________________________________

       Herndon, VA 20170
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔ No

      No                                                         Yes
     
     ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
           
           ✔ Yes. The relative priority of creditors is
                                                                  Unliquidated
                 specified on lines _____
                                     2.3                          Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
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                                                                                                                                                                       21
               Case   23-10566-KHK Doc 1
                Eagle Properties and Investments LLC
                                                                    Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor            _______________________________________________________
                                                                   Document      Page 35 of Case
                                                                                             90 number (if known)_____________________________________
                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  33 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      Gus Goldsmith
                                                                1010 Lynn St Sw Vienna, Va 22180
     __________________________________________                                                                                260,000.00
                                                                                                                              $__________________      720,000.00
                                                                                                                                                      $_________________
     Creditor’s mailing address

     18205 Biscayne Blvd Unit 2226 Aventura,
     ________________________________________________________

     North Miami Beach, FL 33160
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            __________________        Describe the lien
    Last 4 digits of account
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔ No
    same property?                                               Yes
     No
    
    ✔ Yes. Have you already specified the relative
                                                                Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No
            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
           
           ■
             Yes. The relative priority of creditors is          Unliquidated
                                      2.4
                 specified on lines _____                        Disputed

2.__
  34 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      Gus Goldsmith
                                                                449 Lawyers Rd Nw Vienna, Va 22180
     __________________________________________                                                                                260,000.00
                                                                                                                              $__________________       720,000.00
                                                                                                                                                      $_________________
     Creditor’s mailing address


      18205 Biscayne Blvd Unit 2226 Aventura
     ________________________________________________________

      North Miami Beach, FL 33160
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

     No                                                         Yes
    
    ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No

            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
           
           ✔ Yes. The relative priority of creditors is
                                                                 Unliquidated
                 specified on lines _____
                                     2.3                         Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
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               Case   23-10566-KHK Doc 1
                Eagle Properties and Investments LLC
                                                                     Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor            _______________________________________________________
                                                                    Document      Page 36 of Case
                                                                                              90 number (if known)_____________________________________
                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  35 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Lincoin Financing
                                                                 2021 Lincoln Navigator
      __________________________________________                                                                                0.00
                                                                                                                               $__________________      Unknown
                                                                                                                                                       $_________________
     Creditor’s mailing address

      9030 Stony Point Pkwy
      ________________________________________________________

      Richmond, VA 23235
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred           __________________         Describe the lien
     Last 4 digits of account
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
     
     ✔ No

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

2.__
  36 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Lincoln Automotive Financial Services


      __________________________________________                                                                                0.00
                                                                                                                               $__________________       0.00
                                                                                                                                                       $_________________
     Creditor’s mailing address


       PO Box 2400, Edmonton, Alberta, T5J 5C7, Canada
      ________________________________________________________

      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔ No

     
     ✔ No                                                         Yes
      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
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               Case   23-10566-KHK Doc 1
                Eagle Properties and Investments LLC
                                                                    Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor            _______________________________________________________
                                                                   Document      Page 37 of Case
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                    Name



                                                                                                                              Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                            Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  37 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      Main Street Bank
                                                                3012 Dupont Ave Baltimore, Md 21215
     __________________________________________                                                                                114,768.47
                                                                                                                              $__________________      158,700.00
                                                                                                                                                      $_________________
     Creditor’s mailing address

     10089 Fairfax Blvd.
     ________________________________________________________

     Fairfax, VA 22030
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            __________________        Describe the lien
    Last 4 digits of account
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔ No
    same property?                                               Yes
     No
    
    ✔ Yes. Have you already specified the relative
                                                                Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No
            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
           
           ■
             Yes. The relative priority of creditors is          Unliquidated
                                      2.4
                 specified on lines _____                        Disputed

2.__
  38 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      Main Street Bank
                                                                202 N Port St Baltimore Md 21224
     __________________________________________                                                                                101,479.78
                                                                                                                              $__________________       116,200.00
                                                                                                                                                      $_________________
     Creditor’s mailing address


      10089 Fairfax Blvd.
     ________________________________________________________

      Fairfax, VA 22030
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔ No

     No                                                         Yes
    
    ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔ No

            No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                 Contingent
           
           ✔ Yes. The relative priority of creditors is
                                                                 Unliquidated
                 specified on lines _____
                                     2.3                         Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page ___
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               Case   23-10566-KHK Doc 1
                Eagle Properties and Investments LLC
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  Debtor            _______________________________________________________
                                                                    Document      Page 38 of Case
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                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  39 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Orrstown Bank
                                                                 6958 New Oxford Rd, Harrisburg, Pa 17112
      __________________________________________                                                                                200,747.44
                                                                                                                               $__________________      307,500.00
                                                                                                                                                       $_________________
     Creditor’s mailing address

      77 East King Street
      ________________________________________________________

      Shippensburg, PA 17257
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred           __________________         Describe the lien
     Last 4 digits of account
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
     
     ✔ No

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
            Yes. The relative priority of creditors is           Unliquidated
                    specified on lines _____                      Disputed

2.__
  40 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Virginia Partners Bank
                                                                 2565 Chain Bridge Rd Vienna, Va 22181
      __________________________________________                                                                                692,069.04
                                                                                                                               $__________________       805,650.00
                                                                                                                                                       $_________________
     Creditor’s mailing address


       4210 Plank Rd,
      ________________________________________________________

       Fredericksburg, VA 22407
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔ No

      No                                                         Yes
     
     ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
           
           ✔ Yes. The relative priority of creditors is
                                                                  Unliquidated
                 specified on lines _____
                                     2.3                          Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
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                                                          Document      Page 39 of 90
Debtor
               Eagle Properties and Investments LLC
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
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                                                                                                                                                            21
                 Case 23-10566-KHK               Doc 1      Filed 04/06/23 Entered 04/06/23 16:51:03                                Desc Main
   Fill in this information to identify the case:          Document      Page 40 of 90

   Debtor
                    Eagle Properties and Investments LLC
                    __________________________________________________________________

                                           Eastern District of Virginia
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                       Check if this is an
                                                                                                                                         amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                     12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
    
    ✔ Yes. Go to line 2.


 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                 Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           564.00
    City of Richmond                                                                                                                 $_________________
                                                            Check all that apply.
    Division of Collections PO Box 26505                     Contingent
    Richmond, VA, 23261                                      Unliquidated
                                                             Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 City of Richmond                                        As of the petition filing date, the claim is: $______________________
                                                                                                            8,991.23                 $_________________
                                                            Check all that apply.
    Division of Collections PO Box 26505
    Richmond, VA, 23261                                      Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           8,891.77
    County of Fairfax                                                                                                                $_________________
                                                            Check all that apply.
    Department of Tax Administration, Revenue
                                                             Contingent
    Collection Division, 12000, Government Centre            Unliquidated
    Parkway                                                  Disputed
    Suite 223
    Fairfax, VA, 22035                                      Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 26
                                                                                                                                           page 1 of ___
              Case
                Eagle 23-10566-KHK                Doc 1
                      Properties and Investments LLC       Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor         _______________________________________________________
                 Name                                     Document      Page 41 of Case
                                                                                    90 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  4
2.____ Priority creditor’s name and mailing address                                                         7,808.78
                                                                                                           $______________________   $_________________
      County of Fairfax                                    As of the petition filing date, the claim is:
      Department of Tax Administration, Revenue            Check all that apply.
      Collection Division, 12000, Government Centre         Contingent
      Parkway                                               Unliquidated
      Suite 223                                             Disputed
      Fairfax, VA, 22035

        Date or dates debt was incurred                    Basis for the claim:

        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔ No
                                                            Yes
  5
2.____ Priority creditor’s name and mailing address                                                         8,398.89
                                                                                                           $______________________   $_________________
      County of Fairfax
                                                           As of the petition filing date, the claim is:
      Department of Tax Administration, Revenue
                                                           Check all that apply.
      Collection Division, 12000, Government Centre
      Parkway
                                                            Contingent
      Suite 223
                                                            Unliquidated
      Fairfax, VA, 22035
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  6
2.____ Priority creditor’s name and mailing address                                                          7,808.78
                                                                                                           $______________________   $_________________
      County of Fairfax                                    As of the petition filing date, the claim is:
      Department of Tax Administration, Revenue            Check all that apply.
      Collection Division, 12000, Government Centre         Contingent
      Parkway                                               Unliquidated
      Suite 223                                             Disputed
      Fairfax, VA, 22035
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________                  Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                       Yes
  7
2.____ Priority creditor’s name and mailing address                                                        9,294.72
                                                           As of the petition filing date, the claim is: $______________________     $_________________
      County of Fairfax
                                                           Check all that apply.
      Department of Tax Administration, Revenue
      Collection Division, 12000, Government Centre
                                                            Contingent
      Parkway
                                                            Unliquidated
      Suite 223
                                                            Disputed
      Fairfax, VA, 22035
                                                           Basis for the claim:
        Date or dates debt was incurred
                                                           Taxes & Other Government Units
                                                           _________________________________
        _________________________________

        Last 4 digits of account                           Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   2 of ___
                                                                                                                                                 page __    26
              Case
                Eagle 23-10566-KHK                Doc 1
                      Properties and Investments LLC       Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor          _______________________________________________________
                  Name                                    Document      Page 42 of Case
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 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  8
2.____ Priority creditor’s name and mailing address                                                         8,826.67
                                                                                                           $______________________   $_________________
       County of Fairfax                                   As of the petition filing date, the claim is:
       Department of Tax Administration, Revenue           Check all that apply.
       Collection Division, 12000, Government Centre        Contingent
       Parkway                                              Unliquidated
       Suite 223                                            Disputed
       Fairfax, VA, 22035

        Date or dates debt was incurred                    Basis for the claim:

        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔ No
                                                            Yes
  9
2.____ Priority creditor’s name and mailing address                                                         1,489.63
                                                                                                           $______________________   $_________________
       County of Henrico
                                                           As of the petition filing date, the claim is:
       Department of Finance, PO Box 90775
                                                           Check all that apply.
       Henrico, VA, 23273
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  10
2.____ Priority creditor’s name and mailing address                                                          2,474.95
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South    Check all that apply.
       second Street, First Floor                           Contingent
       PO Box No 1295                                       Unliquidated
       Harrisburg, PA, 17108                                Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________                  Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                       Yes
  11
2.____ Priority creditor’s name and mailing address                                                        3,496.88
                                                           As of the petition filing date, the claim is: $______________________     $_________________
      Dauphin County Office of Tax Claim Bureau
                                                           Check all that apply.
      Dauphin County Administration Building, 2, South
      second Street, First Floor
                                                            Contingent
      PO Box No 1295
                                                            Unliquidated
      Harrisburg, PA, 17108
                                                            Disputed

                                                           Basis for the claim:
        Date or dates debt was incurred
                                                           Taxes & Other Government Units
                                                           _________________________________
        _________________________________

        Last 4 digits of account                           Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

       Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  3 of ___
                                                                                                                                                 page __    26
              Case
                Eagle 23-10566-KHK                Doc 1
                      Properties and Investments LLC       Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor          _______________________________________________________
                  Name                                    Document      Page 43 of Case
                                                                                    90 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  12
2.____ Priority creditor’s name and mailing address                                                         2,958.77
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South    Check all that apply.
       second Street, First Floor                           Contingent
       PO Box No 1295                                       Unliquidated
       Harrisburg, PA, 17108                                Disputed

        Date or dates debt was incurred                    Basis for the claim:

        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔ No
                                                            Yes
  13
2.____ Priority creditor’s name and mailing address                                                         4,643.16
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau
                                                           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South
                                                           Check all that apply.
       second Street, First Floor
       PO Box No 1295
                                                            Contingent
       Harrisburg, PA, 17108
                                                            Unliquidated
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  14
2.____ Priority creditor’s name and mailing address                                                          3,619.93
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South    Check all that apply.
       second Street, First Floor                           Contingent
       PO Box No 1295                                       Unliquidated
       Harrisburg, PA, 17108                                Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________                  Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                       Yes
  15
2.____ Priority creditor’s name and mailing address                                                        4,605.37
                                                           As of the petition filing date, the claim is: $______________________     $_________________
    Dauphin County Office of Tax Claim Bureau
                                                           Check all that apply.
    Dauphin County Administration Building, 2, South
    second Street, First Floor
                                                            Contingent
    PO Box No 1295
                                                            Unliquidated
    Harrisburg, PA, 17108
                                                            Disputed

                                                           Basis for the claim:
        Date or dates debt was incurred
                                                           Taxes & Other Government Units
                                                           _________________________________
        _________________________________

        Last 4 digits of account                           Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 4 of ___
                                                                                                                                                 page __    26
              Case
                Eagle 23-10566-KHK                Doc 1
                      Properties and Investments LLC       Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor          _______________________________________________________
                  Name                                    Document      Page 44 of Case
                                                                                    90 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  16
2.____ Priority creditor’s name and mailing address                                                         4,393.45
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South    Check all that apply.
       second Street, First Floor                           Contingent
       PO Box No 1295                                       Unliquidated
       Harrisburg, PA, 17108                                Disputed

        Date or dates debt was incurred                    Basis for the claim:

        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔ No
                                                            Yes
  17
2.____ Priority creditor’s name and mailing address                                                         6,022.78
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau
                                                           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South
                                                           Check all that apply.
       second Street, First Floor
       PO Box No 1295
                                                            Contingent
       Harrisburg, PA, 17108
                                                            Unliquidated
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  18
2.____ Priority creditor’s name and mailing address                                                          2,998.90
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South    Check all that apply.
       second Street, First Floor                           Contingent
       PO Box No 1295                                       Unliquidated
       Harrisburg, PA, 17108                                Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________                  Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                       Yes
  19
2.____ Priority creditor’s name and mailing address                                                        3,796.62
                                                           As of the petition filing date, the claim is: $______________________     $_________________
    Dauphin County Office of Tax Claim Bureau
                                                           Check all that apply.
    Dauphin County Administration Building, 2, South
    second Street, First Floor
                                                            Contingent
    PO Box No 1295
                                                            Unliquidated
    Harrisburg, PA, 17108
                                                            Disputed

                                                           Basis for the claim:
        Date or dates debt was incurred
                                                           Taxes & Other Government Units
                                                           _________________________________
        _________________________________

        Last 4 digits of account                           Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 5 of ___
                                                                                                                                                 page __    26
              Case
                Eagle 23-10566-KHK                Doc 1
                      Properties and Investments LLC       Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor          _______________________________________________________
                  Name                                    Document      Page 45 of Case
                                                                                    90 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  20
2.____ Priority creditor’s name and mailing address                                                         7,305.60
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South    Check all that apply.
       second Street, First Floor                           Contingent
       PO Box No 1295                                       Unliquidated
       Harrisburg, PA, 17108                                Disputed

        Date or dates debt was incurred                    Basis for the claim:

        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔ No
                                                            Yes
  21
2.____ Priority creditor’s name and mailing address                                                         3,791.62
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau
                                                           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South
                                                           Check all that apply.
       second Street, First Floor
       PO Box No 1295
                                                            Contingent
       Harrisburg, PA, 17108
                                                            Unliquidated
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  22
2.____ Priority creditor’s name and mailing address                                                          1,897.36
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South    Check all that apply.
       second Street, First Floor                           Contingent
       PO Box No 1295                                       Unliquidated
       Harrisburg, PA, 17108                                Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________                  Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                       Yes
  23
2.____ Priority creditor’s name and mailing address                                                        5,448.39
                                                           As of the petition filing date, the claim is: $______________________     $_________________
    Dauphin County Office of Tax Claim Bureau
                                                           Check all that apply.
    Dauphin County Administration Building, 2, South
    second Street, First Floor
                                                            Contingent
    PO Box No 1295
                                                            Unliquidated
    Harrisburg, PA, 17108
                                                            Disputed

                                                           Basis for the claim:
        Date or dates debt was incurred
                                                           Taxes & Other Government Units
                                                           _________________________________
        _________________________________

        Last 4 digits of account                           Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 6 of ___
                                                                                                                                                 page __    26
              Case
                Eagle 23-10566-KHK                Doc 1
                      Properties and Investments LLC       Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor          _______________________________________________________
                  Name                                    Document      Page 46 of Case
                                                                                    90 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  24
2.____ Priority creditor’s name and mailing address                                                         4,241.63
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South    Check all that apply.
       second Street, First Floor                           Contingent
       PO Box No 1295                                       Unliquidated
       Harrisburg, PA, 17108                                Disputed

        Date or dates debt was incurred                    Basis for the claim:

        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔ No
                                                            Yes
  25
2.____ Priority creditor’s name and mailing address                                                         4,616.97
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau
                                                           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South
                                                           Check all that apply.
       second Street, First Floor
       PO Box No 1295
                                                            Contingent
       Harrisburg, PA, 17108
                                                            Unliquidated
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  26
2.____ Priority creditor’s name and mailing address                                                          5,583.18
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South    Check all that apply.
       second Street, First Floor                           Contingent
       PO Box No 1295                                       Unliquidated
       Harrisburg, PA, 17108                                Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________                  Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                       Yes
  27
2.____ Priority creditor’s name and mailing address                                                        6,358.56
                                                           As of the petition filing date, the claim is: $______________________     $_________________
    Dauphin County Office of Tax Claim Bureau
                                                           Check all that apply.
    Dauphin County Administration Building, 2, South
    second Street, First Floor
                                                            Contingent
    PO Box No 1295
                                                            Unliquidated
    Harrisburg, PA, 17108
                                                            Disputed

                                                           Basis for the claim:
        Date or dates debt was incurred
                                                           Taxes & Other Government Units
                                                           _________________________________
        _________________________________

        Last 4 digits of account                           Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 7 of ___
                                                                                                                                                 page __    26
              Case
                Eagle 23-10566-KHK                Doc 1
                      Properties and Investments LLC       Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor          _______________________________________________________
                  Name                                    Document      Page 47 of Case
                                                                                    90 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  28
2.____ Priority creditor’s name and mailing address                                                         7,773.37
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South    Check all that apply.
       second Street, First Floor                           Contingent
       PO Box No 1295                                       Unliquidated
       Harrisburg, PA, 17108                                Disputed

        Date or dates debt was incurred                    Basis for the claim:

        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔ No
                                                            Yes
  29
2.____ Priority creditor’s name and mailing address                                                         3,722.93
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau
                                                           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South
                                                           Check all that apply.
       second Street, First Floor
       PO Box No 1295
                                                            Contingent
       Harrisburg, PA, 17108
                                                            Unliquidated
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  30
2.____ Priority creditor’s name and mailing address                                                          3,842.51
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South    Check all that apply.
       second Street, First Floor                           Contingent
       PO Box No 1295                                       Unliquidated
       Harrisburg, PA, 17108                                Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________                  Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                       Yes
  31
2.____ Priority creditor’s name and mailing address                                                        3,136.32
                                                           As of the petition filing date, the claim is: $______________________     $_________________
    Dauphin County Office of Tax Claim Bureau
                                                           Check all that apply.
    Dauphin County Administration Building, 2, South
    second Street, First Floor
                                                            Contingent
    PO Box No 1295
                                                            Unliquidated
    Harrisburg, PA, 17108
                                                            Disputed

                                                           Basis for the claim:
        Date or dates debt was incurred
                                                           Taxes & Other Government Units
                                                           _________________________________
        _________________________________

        Last 4 digits of account                           Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 8 of ___
                                                                                                                                                 page __    26
              Case
                Eagle 23-10566-KHK                Doc 1
                      Properties and Investments LLC       Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor          _______________________________________________________
                  Name                                    Document      Page 48 of Case
                                                                                    90 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  32
2.____ Priority creditor’s name and mailing address                                                         3,621.18
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South    Check all that apply.
       second Street, First Floor                           Contingent
       PO Box No 1295                                       Unliquidated
       Harrisburg, PA, 17108                                Disputed

        Date or dates debt was incurred                    Basis for the claim:

        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔ No
                                                            Yes
  33
2.____ Priority creditor’s name and mailing address                                                         6,601.85
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau
                                                           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South
                                                           Check all that apply.
       second Street, First Floor
       PO Box No 1295
                                                            Contingent
       Harrisburg, PA, 17108
                                                            Unliquidated
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  34
2.____ Priority creditor’s name and mailing address                                                          2,916.69
                                                                                                           $______________________   $_________________
       Dauphin County Office of Tax Claim Bureau           As of the petition filing date, the claim is:
       Dauphin County Administration Building, 2, South    Check all that apply.
       second Street, First Floor                           Contingent
       PO Box No 1295                                       Unliquidated
       Harrisburg, PA, 17108                                Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________                  Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                       Yes
  35
2.____ Priority creditor’s name and mailing address                                                        1,608.62
                                                           As of the petition filing date, the claim is: $______________________     $_________________
    Dauphin County Office of Tax Claim Bureau
                                                           Check all that apply.
    Dauphin County Administration Building, 2, South
    second Street, First Floor
                                                            Contingent
    PO Box No 1295
                                                            Unliquidated
    Harrisburg, PA, 17108
                                                            Disputed

                                                           Basis for the claim:
        Date or dates debt was incurred
                                                           Taxes & Other Government Units
                                                           _________________________________
        _________________________________

        Last 4 digits of account                           Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 9 of ___
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                      Properties and Investments LLC       Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor          _______________________________________________________
                  Name                                    Document      Page 49 of Case
                                                                                    90 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  36
2.____ Priority creditor’s name and mailing address                                                         7,982.33
                                                                                                           $______________________   $_________________
       Department of Finance Howard county                 As of the petition filing date, the claim is:
       Property Tax Division, 3430, Court House Drive      Check all that apply.
       Ellicott City, MD, 21043                             Contingent
                                                            Unliquidated
                                                            Disputed

        Date or dates debt was incurred                    Basis for the claim:

        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔ No
                                                            Yes
  37
2.____ Priority creditor’s name and mailing address                                                         3,988.19
                                                                                                           $______________________   $_________________
       Mayor and City Council Baltimore
                                                           As of the petition filing date, the claim is:
       Bureau of Revenue Collections, 200 Holiday
                                                           Check all that apply.
       Street
       Baltimore, MD, 21202
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  38
2.____ Priority creditor’s name and mailing address                                                          2,463.85
                                                                                                           $______________________   $_________________
       Mayor and City Council Baltimore                    As of the petition filing date, the claim is:
       Bureau of Revenue Collections, 200 Holiday          Check all that apply.
       Street                                               Contingent
       Baltimore, MD, 21202                                 Unliquidated
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________                  Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                       Yes
  39
2.____ Priority creditor’s name and mailing address                                                        762.45
                                                           As of the petition filing date, the claim is: $______________________     $_________________
    Stafford County
                                                           Check all that apply.
    Laura M Rudy, Treasurer, PO Box 68
    Stafford, VA, 22555
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                           Basis for the claim:
        Date or dates debt was incurred
                                                           Taxes & Other Government Units
                                                           _________________________________
        _________________________________

        Last 4 digits of account                           Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

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                      Properties and Investments LLC       Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor          _______________________________________________________
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 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  40
2.____ Priority creditor’s name and mailing address                                                         845.69
                                                                                                           $______________________   $_________________
       Stafford County                                     As of the petition filing date, the claim is:
       Laura M Rudy, Treasurer, PO Box 68                  Check all that apply.
       Stafford, VA, 22555                                  Contingent
                                                            Unliquidated
                                                            Disputed

        Date or dates debt was incurred                    Basis for the claim:

        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔ No
                                                            Yes

2.____ Priority creditor’s name and mailing address
                                                                                                           $______________________   $_________________
                                                           As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________                  _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                            No
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

2.____ Priority creditor’s name and mailing address
                                                                                                           $______________________   $_________________
                                                           As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________                  _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured       No
        claim: 11 U.S.C. § 507(a) (_____)                   Yes

2.____ Priority creditor’s name and mailing address
                                                           As of the petition filing date, the claim is: $______________________     $_________________
                                                           Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                           Basis for the claim:
        Date or dates debt was incurred
                                                           _________________________________
        _________________________________

        Last 4 digits of account                           Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                            No
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

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  Debtor        _______________________________________________________
                Name                                      Document      Page 51 of Case
                                                                                    90 number (if known)_____________________________________
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    ADT                                                                                                                      64.74
                                                                                                                           $________________________________
                                                                            Contingent
    P O Box 371878                                                          Unliquidated
    Pittsburgh, PA, 15250                                                   Disputed
                                                                           Basis for the claim:



    Date or dates debt was incurred            03-27-2023
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            3389
                                               ___________________         
                                                                           ✔ No
                                                                            Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    ADT                                                                    Check all that apply.                             52.99
                                                                                                                           $________________________________
    P O Box 371878                                                          Contingent
    Pittsburgh, PA, 15250                                                   Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:



    Date or dates debt was incurred            03-21-2023
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔ No
    Last 4 digits of account number            6127
                                               __________________           Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    ADT                                                                                                                      66.30
                                                                                                                           $________________________________
                                                                            Contingent
    P O Box 371878                                                          Unliquidated
    Pittsburgh, PA, 15250                                                   Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            03-07-2023
                                               ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            2189
                                               __________________          
                                                                           ✔ No

                                                                            Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    ADT                                                                    Check all that apply.
                                                                                                                             49.33
                                                                                                                           $________________________________
    P O Box 371878                                                          Contingent
    Pittsburgh, PA, 15250                                                   Unliquidated
                                                                            Disputed
                                                                            Basis for the claim:


    Date or dates debt was incurred            03-21-2023
                                               ___________________         Is the claim subject to offset?

    Last 4 digits of account number            1046
                                               __________________          
                                                                           ✔
                                                                             No
                                                                            Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    ADT                                                                                                                      59.35
                                                                                                                           $________________________________
                                                                           Check all that apply.
    P O Box 371878                                                          Contingent
    Pittsburgh, PA, 15250                                                   Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:

    Date or dates debt was incurred            03-22-2023
                                               ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            4591
                                               __________________          
                                                                           ✔ No
                                                                            Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    ADT                                                                                                                      72.17
                                                                                                                           $________________________________
                                                                           Check all that apply.
    P O Box 371878                                                          Contingent
    Pittsburgh, PA, 15250                                                   Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________
                                               03-24-2023                  Is the claim subject to offset?
    Last 4 digits of account number            9094
                                               ___________________         
                                                                           ✔
                                                                             No
                                                                            Yes

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  Debtor          _______________________________________________________
                  Name                                   Document      Page 52 of Case
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             63.14
                                                                                                                     $________________________________
 ADT                                                                  Contingent
 P O Box 371878                                                       Unliquidated
 Pittsburgh, PA, 15250                                                Disputed
                                                                      Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        03-23-2023
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       5154
                                              ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       68.99
                                                                                                                     $________________________________
 ADT
 P O Box 371878                                                       Contingent
 Pittsburgh, PA, 15250                                                Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        03-11-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       3090
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 ADT                                                                 Check all that apply.
                                                                                                                      63.14
                                                                                                                     $________________________________
 P O Box 371878                                                       Contingent
 Pittsburgh, PA, 15250                                                Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred       03-02-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              4124                   
                                                                     ✔
                                                                       No
                                                                      Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      3,334,000.00
                                                                                                                     $________________________________
 Bala Jain LLC                                                       Check all that apply.
 6007 Marilyn Drive                                                   Contingent
                                                                      Unliquidated
 Alexandria, VA, 22310                                               
                                                                     ✔
                                                                       Disputed

                                                                      Basis for the claim: Loans



        Date or dates debt was incurred        02/01/2016
                                              ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bala Jain LLC                                                       Check all that apply.
                                                                                                                       500,000.00
                                                                                                                     $________________________________
 6007 Marilyn Drive                                                   Contingent
 Alexandria, VA                                                       Unliquidated
                                                                     
                                                                     ✔
                                                                       Disputed
                                                                      Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred        1/31/2019
                                              ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             321.26
                                                                                                                     $________________________________
 Dominion Energy                                                      Contingent
 P O Box 26543                                                        Unliquidated
 Richmond, VA, 23290                                                  Disputed
                                                                      Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        04-11-2023
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       8087
                                              ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       201.68
                                                                                                                     $________________________________
 Dominion Energy
 P O Box 26543                                                        Contingent
 Richmond, VA, 23290                                                  Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-07-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       1099
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dominion Energy                                                     Check all that apply.
                                                                                                                      216.19
                                                                                                                     $________________________________
 P O Box 26543                                                        Contingent
 Richmond, VA, 23290                                                  Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred       04-11-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              0769                   
                                                                     ✔
                                                                       No
                                                                      Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      188.25
                                                                                                                     $________________________________
 Dominion Energy                                                     Check all that apply.
 P O Box 26543                                                        Contingent
 Richmond, VA, 23290                                                  Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-07-2023
                                              ___________________     Is the claim subject to offset?
                                              0173                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dominion Energy                                                     Check all that apply.
                                                                                                                       83.99
                                                                                                                     $________________________________
 P O Box 26543                                                        Contingent
 Richmond, VA, 23290                                                  Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-13-2023
                                              ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              8117                    Yes



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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.50
                                                                                                                     $________________________________
 Dominion Energy                                                      Contingent
 P O Box 26543                                                        Unliquidated
 Richmond, VA, 23290                                                  Disputed
                                                                      Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        04-20-2023
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       6090
                                              ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       717.85
                                                                                                                     $________________________________
 Dominion Energy
 P O Box 26543                                                        Contingent
 Richmond, VA, 23290                                                  Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-27-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       2127
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 DTMA                                                                Check all that apply.
                                                                                                                      19.36
                                                                                                                     $________________________________
 670 Clearwater RD                                                    Contingent
 Hershey, PA, 17033                                                   Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred       04-03-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              0440                   
                                                                     ✔
                                                                       No
                                                                      Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.17
                                                                                                                     $________________________________
 DTMA                                                                Check all that apply.
 670 Clearwater RD                                                    Contingent
 Hershey, PA, 17033                                                   Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-03-2023
                                              ___________________     Is the claim subject to offset?
                                              5390                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 DTMA                                                                Check all that apply.
                                                                                                                       19.36
                                                                                                                     $________________________________
 670 Clearwater RD                                                    Contingent
 Hershey, PA, 17033                                                   Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-03-2023
                                              ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              6850                    Yes



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              Case
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  Debtor          _______________________________________________________
                  Name                                   Document      Page 55 of Case
                                                                                   90 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.72
                                                                                                                     $________________________________
 DTMA                                                                 Contingent
 670 Clearwater RD                                                    Unliquidated
 Hershey, PA, 17033                                                   Disputed
                                                                      Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        04-03-2023
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       2270
                                              ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       50.65
                                                                                                                     $________________________________
 DTMA
 670 Clearwater RD                                                    Contingent
 Hershey, PA, 17033                                                   Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-03-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       7000
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pennsylvania American Water                                         Check all that apply.
                                                                                                                      17.74
                                                                                                                     $________________________________
 P O Box 371412                                                       Contingent
 Pittsburgh, PA, 15250                                                Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred       04-15-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              5059                   
                                                                     ✔
                                                                       No
                                                                      Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      17.74
                                                                                                                     $________________________________
 Pennsylvania American Water                                         Check all that apply.
 P O Box 371412                                                       Contingent
 Pittsburgh, PA, 15250                                                Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        03-15-2023
                                              ___________________     Is the claim subject to offset?
                                              6230                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pennsylvania American Water                                         Check all that apply.
                                                                                                                       23.06
                                                                                                                     $________________________________
 P O Box 371412                                                       Contingent
 Pittsburgh, PA, 15250                                                Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-06-2023
                                              ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              2545                    Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.66
                                                                                                                     $________________________________
 Pennsylvania American Water                                          Contingent
 P O Box 371412                                                       Unliquidated
 Pittsburgh, PA, 15250                                                Disputed
                                                                      Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        03-15-2023
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       2146
                                              ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       25.71
                                                                                                                     $________________________________
 Pennsylvania American Water
 P O Box 371412                                                       Contingent
 Pittsburgh, PA, 15250                                                Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-06-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       1607
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pennsylvania American Water                                         Check all that apply.
                                                                                                                      25.71
                                                                                                                     $________________________________
 P O Box 371412                                                       Contingent
 Pittsburgh, PA, 15250                                                Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred       02-15-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              8674                   
                                                                     ✔
                                                                       No
                                                                      Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      17.50
                                                                                                                     $________________________________
 Pennsylvania American Water                                         Check all that apply.
 P O Box 371412                                                       Contingent
 Pittsburgh, PA, 15250                                                Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-12-2023
                                              ___________________     Is the claim subject to offset?
                                              2826                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 PPL Electric Utilities                                              Check all that apply.
                                                                                                                       657.07
                                                                                                                     $________________________________
 827 Hausman Rd                                                       Contingent
 Allentown, PA, 18104                                                 Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              1029                    Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             444.26
                                                                                                                     $________________________________
 PPL Electric Utilities                                               Contingent
 827 Hausman Rd                                                       Unliquidated
 Allentown, PA, 18104                                                 Disputed
                                                                      Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       7018
                                              ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       58.21
                                                                                                                     $________________________________
 PPL Electric Utilities
 827 Hausman Rd                                                       Contingent
 Allentown, PA, 18104                                                 Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        03-16-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       0105
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 PPL Electric Utilities                                              Check all that apply.
                                                                                                                      160.03
                                                                                                                     $________________________________
 827 Hausman Rd                                                       Contingent
 Allentown, PA, 18104                                                 Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred       04-20-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              7100                   
                                                                     ✔
                                                                       No
                                                                      Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      418.03
                                                                                                                     $________________________________
 PPL Electric Utilities                                              Check all that apply.
 827 Hausman Rd                                                       Contingent
 Allentown, PA, 18104                                                 Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        03-06-2023
                                              ___________________     Is the claim subject to offset?
                                              6033                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 PPL Electric Utilities                                              Check all that apply.
                                                                                                                       1,393.55
                                                                                                                     $________________________________
 827 Hausman Rd                                                       Contingent
 Allentown, PA, 18104                                                 Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        03-22-2023
                                              ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              1013                    Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,078.14
                                                                                                                     $________________________________
 PPL Electric Utilities                                               Contingent
 827 Hausman Rd                                                       Unliquidated
 Allentown, PA, 18104                                                 Disputed
                                                                      Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        03-06-2023
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       9017
                                              ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       677.85
                                                                                                                     $________________________________
 PPL Electric Utilities
 827 Hausman Rd                                                       Contingent
 Allentown, PA, 18104                                                 Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        03-15-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       1035
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 PPL Electric Utilities                                              Check all that apply.
                                                                                                                      337.26
                                                                                                                     $________________________________
 827 Hausman Rd                                                       Contingent
 Allentown, PA, 18104                                                 Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred       04-20-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              6010                   
                                                                     ✔
                                                                       No
                                                                      Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      62.42
                                                                                                                     $________________________________
 PPL Electric Utilities                                              Check all that apply.
 827 Hausman Rd                                                       Contingent
 Allentown, PA, 18104                                                 Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        03-15-2023
                                              ___________________     Is the claim subject to offset?
                                              1019                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Town Of Vienna Water and Sewer Bill                                 Check all that apply.
                                                                                                                       338.30
                                                                                                                     $________________________________
 127 Center St                                                        Contingent
 Vienna, VA, 22180                                                    Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        12-30-2022
                                              ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              3796                    Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             168.48
                                                                                                                     $________________________________
 Town Of Vienna Water and Sewer Bill                                  Contingent
 127 Center St                                                        Unliquidated
 Vienna, VA, 22180                                                    Disputed
                                                                      Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        12-30-2022
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       562F
                                              ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       320.25
                                                                                                                     $________________________________
 Town Of Vienna Water and Sewer Bill
 127 Center St                                                        Contingent
 Vienna, VA, 22180                                                    Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        12-30-2022
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       3470
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Town Of Vienna Water and Sewer Bill                                 Check all that apply.
                                                                                                                      92.64
                                                                                                                     $________________________________
 127 Center St                                                        Contingent
 Vienna, VA, 22180                                                    Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred       12-30-2022
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              562G                   
                                                                     ✔
                                                                       No
                                                                      Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      31.93
                                                                                                                     $________________________________
 UGI Utilities Inc                                                   Check all that apply.
 400 Stewart Rd                                                       Contingent
 Hanover, PA, 18706                                                   Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        12-30-2022
                                              ___________________     Is the claim subject to offset?
                                              1551                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Verizon Fios                                                        Check all that apply.
                                                                                                                       55.89
                                                                                                                     $________________________________
 1430 Walnut St                                                       Contingent
 Philadelphia, PA, 19102                                              Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              0157                    Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             87.98
                                                                                                                     $________________________________
 Verizon Fios                                                         Contingent
 1430 Walnut St                                                       Unliquidated
 Philadelphia, PA, 19102                                              Disputed
                                                                      Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       0156
                                              ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       55.89
                                                                                                                     $________________________________
 Verizon Fios
 1430 Walnut St                                                       Contingent
 Philadelphia, PA, 19102                                              Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        03-29-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       0151
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  49
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Verizon Fios                                                        Check all that apply.
                                                                                                                      94.98
                                                                                                                     $________________________________
 1430 Walnut St                                                       Contingent
 Philadelphia, PA, 19102                                              Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred       04-03-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              0178                   
                                                                     ✔
                                                                       No
                                                                      Yes
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      55.89
                                                                                                                     $________________________________
 Verizon Fios                                                        Check all that apply.
 1430 Walnut St                                                       Contingent
 Philadelphia, PA, 19102                                              Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-06-2023
                                              ___________________     Is the claim subject to offset?
                                              0185                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  51
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Verizon Fios                                                        Check all that apply.
                                                                                                                       55.89
                                                                                                                     $________________________________
 1430 Walnut St                                                       Contingent
 Philadelphia, PA, 19102                                              Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        03-29-2023
                                              ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              0174                    Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             55.89
                                                                                                                     $________________________________
 Verizon Fios                                                         Contingent
 1430 Walnut St                                                       Unliquidated
 Philadelphia, PA, 19102                                              Disputed
                                                                      Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        04-03-2023
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       0165
                                              ___________________
  53
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       55.89
                                                                                                                     $________________________________
 Verizon Fios
 1430 Walnut St                                                       Contingent
 Philadelphia, PA, 19102                                              Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-04-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       0145
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  54
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Washington Gas                                                      Check all that apply.
                                                                                                                      115.70
                                                                                                                     $________________________________
 6801 Industrial Rd                                                   Contingent
 Springfield, VA, 22151                                               Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred       03-28-23
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              9854                   
                                                                     ✔
                                                                       No
                                                                      Yes
  55
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      221.50
                                                                                                                     $________________________________
 Washington Gas                                                      Check all that apply.
 6801 Industrial Rd                                                   Contingent
 Springfield, VA, 22151                                               Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        03-28-23
                                              ___________________     Is the claim subject to offset?
                                              9094                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  56
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Waste Management                                                    Check all that apply.
                                                                                                                       135.69
                                                                                                                     $________________________________
 P O Box 13577                                                        Contingent
 Philadelphia, PA, 19101                                              Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-14-2023
                                              ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              3002                    Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  57
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             135.69
                                                                                                                     $________________________________
 Waste Management                                                     Contingent
 P O Box 13577                                                        Unliquidated
 Philadelphia, PA, 19101                                              Disputed
                                                                      Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        04-14-2023
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       3008
                                              ___________________
  58
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       102.69
                                                                                                                     $________________________________
 Waste Management
 P O Box 13577                                                        Contingent
 Philadelphia, PA, 19101                                              Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-14-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       3008
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  59
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Waste Management                                                    Check all that apply.
                                                                                                                      69.69
                                                                                                                     $________________________________
 P O Box 13577                                                        Contingent
 Philadelphia, PA, 19101                                              Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred       04-14-2023
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              3008                   
                                                                     ✔
                                                                       No
                                                                      Yes
  60
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      129.33
                                                                                                                     $________________________________
 Waste Management                                                    Check all that apply.
 P O Box 13577                                                        Contingent
 Philadelphia, PA, 19101                                              Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-14-2023
                                              ___________________     Is the claim subject to offset?
                                              3002                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  61
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Waste Management                                                    Check all that apply.
                                                                                                                       135.69
                                                                                                                     $________________________________
 P O Box 13577                                                        Contingent
 Philadelphia, PA, 19101                                              Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        04-14-2023
                                              ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              3005                    Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 23 of ___
                                                                                                                                                        26
              Case
                Eagle23-10566-KHK                Doc 1
                     Properties and Investments LLC       Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor          _______________________________________________________
                  Name                                   Document      Page 63 of Case
                                                                                   90 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  62
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             156.00
                                                                                                                     $________________________________
 West Hanover Tap Water and Sewer                                     Contingent
 7091 Jonestown Rd                                                    Unliquidated
 Harrisburg, PA, 17112                                                Disputed
                                                                      Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        11-15-2022
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       0041
                                              ___________________
  63
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       156.00
                                                                                                                     $________________________________
 West Hanover Tap Water and Sewer
 7091 Jonestown Rd                                                    Contingent
 Harrisburg, PA, 17112                                                Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        11-15-2022
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       0041
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  64
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 West Hanover Tap Water and Sewer                                    Check all that apply.
                                                                                                                      156.00
                                                                                                                     $________________________________
 7091 Jonestown Rd                                                    Contingent
 Harrisburg, PA, 17112                                                Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred       11-15-2022
                                              ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              1661                   
                                                                     ✔
                                                                       No
                                                                      Yes
  65
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      156.00
                                                                                                                     $________________________________
 West Hanover Tap Water and Sewer                                    Check all that apply.
 7091 Jonestown Rd                                                    Contingent
 Harrisburg, PA, 17112                                                Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        11-15-2022
                                              ___________________     Is the claim subject to offset?
                                              1390                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  66
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 West Hanover Tap Water and Sewer                                    Check all that apply.
                                                                                                                       156.00
                                                                                                                     $________________________________
 7091 Jonestown Rd                                                    Contingent
 Harrisburg, PA, 17112                                                Unliquidated
                                                                      Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        11-15-2022
                                              ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              2968                    Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 24 of ___
                                                                                                                                                        26
            Case
              Eagle23-10566-KHK                Doc 1
                   Properties and Investments LLC        Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
  Debtor       _______________________________________________________
               Name                                     Document      Page 64 of Case
                                                                                  90 number (if known)_____________________________________
Pa rt 2 :   Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  67
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             156.00
                                                                                                                    $________________________________
 West Hanover Tap Water and Sewer                                    Contingent
 7091 Jonestown Rd                                                   Unliquidated
 Harrisburg, PA, 17112                                               Disputed
                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
     Date or dates debt was incurred          11-15-2022
                                             ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
     Last 4 digits of account number         0041
                                             ___________________

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                     Basis for the claim:



     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
     Last 4 digits of account number         ___________________
                                                                     No
                                                                     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                     Basis for the claim:



     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
     Last 4 digits of account number         __________________      No
                                                                     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                     Basis for the claim:



     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___________________     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                     Basis for the claim:



     Date or dates debt was incurred         ____________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___________________     Yes



    Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
                                                                                                                                                25 of ___
                                                                                                                                                       26
            Case
              Eagle 23-10566-KHK                Doc 1
                    Properties and Investments LLC       Filed 04/06/23 Entered 04/06/23 16:51:03 Desc Main
 Debtor        _______________________________________________________
               Name                                     Document      Page 65 of Case
                                                                                  90 number (if known)_____________________________________
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                             Total of claim amounts



5a. Total claims from Part 1                                                                     5a.
                                                                                                               189,594.57
                                                                                                             $_____________________________




5b. Total claims from Part 2                                                                     5b.    +      3,845,394.95
                                                                                                             $_____________________________




5c. Total of Parts 1 and 2                                                                                     4,034,989.52
                                                                                                  5c.        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                      page __     26
                                                                                                                                           26 of ___
           Case 23-10566-KHK                    Doc 1      Filed 04/06/23 Entered 04/06/23 16:51:03                                Desc Main
                                                          Document      Page 66 of 90
 Fill in this information to identify the case:

             Eagle Properties and Investments LLC
 Debtor name __________________________________________________________________

                                         Eastern District of Virginia
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                       11
                                                                    Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease
                                       Lease                                            Candice Goodman
         State what the contract or    Lessee                                           15474 Roxbury Rd
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                        Glenwood, MD, 21738
         State the term remaining
         List the contract number of
         any government contract

                                       Lease                                            Isidoro Pulido Luna
         State what the contract or    Lessee                                           202 N Port St
 2.2     lease is for and the nature
         of the debtor’s interest
                                                                                         Baltimore, MD, 21224
         State the term remaining
         List the contract number of
         any government contract

                                       Lease                                            Devon England
         State what the contract or    Purchaser                                        213 N Port St
 2.3     lease is for and the nature
         of the debtor’s interest
                                                                                        Baltimore , MD, 21224
         State the term remaining
         List the contract number of
         any government contract

                                       Lease                                            Joshua Fowlers
         State what the contract or
 2.4                                   Lessee                                           580 W Areba Ave
         lease is for and the nature
         of the debtor’s interest
                                                                                        Hershey , PA, 17033
         State the term remaining
         List the contract number of
         any government contract

                                       Lease                                             Betsy Dalton
         State what the contract or    Lessee
 2.5     lease is for and the nature
                                                                                         1203 Cottage St Sw
         of the debtor’s interest
                                                                                         Vienna, VA, 22180
         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       2
                                                                                                                                            page 1 of ___
            Case 23-10566-KHK                Doc 1       Filed 04/06/23 Entered 04/06/23 16:51:03                            Desc Main
                                                        Document      Page 67 of 90
               Eagle Properties and Investments LLC
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Lease                                          Turkey Hill
            State what the contract or    Lessee                                         1635 Church Rd
   6
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Hershey , PA, 17033
            State the term remaining
            List the contract number of
            any government contract

                                          Lease                                          Troy Mason
            State what the contract or    Lessee                                         3002 Williamsburg Rd
   7
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Richmond , VA, 23231
            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract



 Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                        page ___
                                                                                                                                             2 of ___
                                                                                                                                                  2
            Case 23-10566-KHK                   Doc 1       Filed 04/06/23 Entered 04/06/23 16:51:03                                  Desc Main
                                                           Document      Page 68 of 90
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Eagle Properties and Investments LLC

                                         Eastern District of Virginia
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1 Monika Jain                     Monika Jain                                                         Bala Jain LLC                        D
                                     445 Windover Ave North West                                                                             ✔ E/F
                                                                                                                                             
                                     Vienna, VA 22182                                                                                         G




 2.2
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.3
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
           Case 23-10566-KHK                    Doc 1       Filed 04/06/23 Entered 04/06/23 16:51:03                              Desc Main
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Fill in this information to identify the case:
             Eagle Properties and Investments LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Eastern District of Virginia District of _________
                                                                              (State)
Case number (If known):   _________________________                                              ___________________________________________



                                                                                                                                     Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

     None
            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                  Gross revenue
            may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                            Operating a business                         165,000.00
           fiscal year to filing date:           01/01/2023
                                           From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2022
                                           From ___________         to     12/31/2022
                                                                           ___________          Operating a business                       3,000,000.00
                                                                                                                                   $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/02/2021
                                           From ___________         to     12/31/2021
                                                                           ___________          Operating a business                       5,500,000.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔ None

                                                                                              Description of sources of revenue   Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the
                                                                                              ___________________________         $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1
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                Eagle Properties and Investments LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
     ✔
            Creditor’s name and address                        Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

            __________________________________________                        $_________________                 Secured debt
            Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


     3.2.

                                                                              $_________________                 Secured debt
            __________________________________________
            Creditor’s name                                                                                      Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

      None
            Insider’s name and address                         Dates          Total amount or value        Reasons for payment or transfer
     4.1.
            Monika Jain
            __________________________________________  _________
                                                       08/30/2022              9,543.63
                                                                             $__________________
            Insider’s name
                                                                                                          Reimbursement of expenses
            445 Windover Ave NW                              _________
            Vienna, VA 22180
                                                             _________


            Relationship to debtor
             member
            __________________________________________



     4.2.   Monika Jain
            __________________________________________
            Insider’s name
                                                            _________
                                                           06/30/2022          10,000.00
                                                                             $__________________
            445, Windover Ave NW                                                                          Reimbursement of expenses
            Vienna, VA 22180                                 _________

                                                             _________




            Relationship to debtor
            member
            __________________________________________



Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 2
            Case 23-10566-KHK                  Doc 1      Filed 04/06/23 Entered 04/06/23 16:51:03                                     Desc Main
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                 Eagle Properties and Investments LLC
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                   Date              Value of property
     5.1.

            __________________________________________                                                                       ______________    $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                                  _______________     $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                    Date action was      Amount
                                                                                                                             taken

             __________________________________________                                                                     _______________    $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
             Case title                              Nature of case                           Court or agency’s name and address                Status of case
          Bala Jain LLC v. Eagle Properties and                                              Fairfax County Circuit Court
     7.1. Investments LLC. et al                     Breach of Contract, Fraud,                                                                 
                                                                                                                                                ✔ Pending
                                                                                                                                                 On appeal
             Case number                                                                     Chain Bridge Rd                                     Concluded
                                                                                             Fairfax, VA 22030
      2022-09687
             _________________________________

             Case title                                                                       Court or agency’s name and address
                                                                                                                                                 Pending
     7.2.
                                                                                                                                                 On appeal
             Case number
                                                                                                                                                 Concluded


             _________________________________


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3
            Case 23-10566-KHK                     Doc 1      Filed 04/06/23 Entered 04/06/23 16:51:03                                   Desc Main
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                 Eagle Properties and Investments LLC
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
           Case 23-10566-KHK                 Doc 1       Filed 04/06/23 Entered 04/06/23 16:51:03                                  Desc Main
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               Eagle Properties and Investments LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




 Part 6:     Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

           N D Greene PC
           __________________________________________         Pre-petition legal services and reimbursement
   11.1.                                                                                                                 04/06//2023
                                                              of filing fee                                              ______________      $_________
                                                                                                                                               15,890.50
           Address

           3977 Chain Bridge Rd
           Suite 1
           Fairfax, VA 22030




           Email or website address
           _________________________________

           Who made the payment, if not debtor?

           IOLTA TRUST funds
           __________________________________________


           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.   __________________________________________
                                                                                                                         ______________      $_________
           Address




           Email or website address


           __________________________________________


           Who made the payment, if not debtor?

           __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔ None
           Name of trust or device                            Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


           __________________________________________                                                                     ______________      $_________

           Trustee

           __________________________________________




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               Eagle Properties and Investments LLC
Debtor        _______________________________________________________                            Case number (if known)_____________________________________
              Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔ None

           Who received transfer?                              Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.   __________________________________________                                                                     ________________     $_________

           Address




           Relationship to debtor

           __________________________________________




           Who received transfer?                                                                                         ________________     $_________

   13.2.   __________________________________________

           Address




           Relationship to debtor

           __________________________________________



 Part 7:     Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
           Address                                                                                              Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
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               Eagle Properties and Investments LLC
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name




 Part 8:       Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔ No. Go to Part 9.
      Yes. Fill in the information below.
           Facility name and address                         Nature of the business operation, including type of services the             If debtor provides meals
                                                             debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.1.   ________________________________________                                                                                       ____________________
           Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                      How are records kept?


                                                                                                                                          Check all that apply:

                                                                                                                                           Electronically
                                                                                                                                           Paper
                                                             Nature of the business operation, including type of services the             If debtor provides meals
           Facility name and address                         debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.2.                                                                                                                                  ____________________
           ________________________________________
           Facility name


                                                             Location where patient records are maintained (if different from facility    How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                          Check all that apply:
                                                                                                                                           Electronically
                                                                                                                                          Paper

 Part 9:       Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔ No.
      Yes. State the nature of the information collected and retained. ___________________________________________________________________
               Does the debtor have a privacy policy about that information?
             
              No
              Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔ No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?
             No. Go to Part 10.
             Yes. Fill in below:
                      Name of plan                                                                             Employer identification number of the plan

                      _______________________________________________________________________                  EIN: ___________________________________

                    Has the plan been terminated?
                     No
                     Yes

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Debtor        Eagle Properties and Investments LLC
              _______________________________________________________                             Case number (if known)_____________________________________
              Name




 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔ None

           Financial institution name and address          Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.   ______________________________________          XXXX–__________                 Checking                  ___________________      $__________
           Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.   ______________________________________          XXXX–__________                 Checking                  ___________________      $__________
           Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔ None
            Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

           ______________________________________                                                                                                     No
           Name                                                                                                                                       Yes


                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔ None
            Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
           ______________________________________
           Name
                                                                                                                                                       Yes



                                                            Address




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              Eagle Properties and Investments LLC
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔ None


          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:     Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔ No

      Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                    Pending
                                                     _____________________________________
          Case number                                Name                                                                                      On appeal
          _________________________________                                                                                                    Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔ No

      Yes. Provide details below.
         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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               Eagle Properties and Investments LLC
Debtor         _______________________________________________________                       Case number (if known)_____________________________________
               Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔ No

      Yes. Provide details below.
           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


           __________________________________       ______________________________________                                                     __________
           Name                                     Name




 Part 13:         Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔ None



           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.   __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
           __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
           __________________________________
           Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                   Eagle Properties and Investments LLC
Debtor            _______________________________________________________                      Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

            
            ✔ None

              Name and address                                                                              Dates of service

                                                                                                            From _______
   26a.1.     __________________________________________________________________________________
              Name
                                                                                                            To _______




              Name and address                                                                              Dates of service

                                                                                                            From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                            To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔ None


                   Name and address                                                                         Dates of service

                                                                                                            From _______
         26b.1.    ______________________________________________________________________________
                   Name
                                                                                                            To _______




                                                                                                            Dates of service
                   Name and address

                                                                                                            From _______
         26b.2.
                   ______________________________________________________________________________
                   Name                                                                                     To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔ None

                   Name and address                                                                         If any books of account and records are
                                                                                                            unavailable, explain why


         26c.1.    ______________________________________________________________________________
                   Name




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 11
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                    Eagle Properties and Investments LLC
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔ None


                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔ No

      Yes. Give the details about the two most recent inventories.


               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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               Eagle Properties and Investments LLC
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




           Name of the person who supervised the taking of the inventory                      Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

           ______________________________________________________________________             _______         $___________________

           Name and address of the person who has possession of inventory records


   27.2.   ______________________________________________________________________
           Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                     Address                                                  Position and nature of any interest      % of interest, if any
 Monika Jain                                445 Windover Drive, Vienna, VA 22182                     Member                                  100




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

      Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                               Address                                                  interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔ No

      Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
           Name and address of recipient                                             and value of property                                   the value

   30.1.   ______________________________________________________________             _________________________          _____________
           Name


                                                                                                                         _____________


                                                                                                                         _____________

           Relationship to debtor                                                                                        _____________

           ______________________________________________________________                                                _____________
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                Eagle Properties and Investments LLC
Debtor          _______________________________________________________                            Case number (if known)_____________________________________
                Name




             Name and address of recipient
                                                                                           __________________________     _____________

   30.2      ______________________________________________________________
             Name                                                                                                         _____________

                                                                                                                          _____________



                                                                                                                          _____________


             Relationship to debtor                                                                                       _____________

             ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔ No

      Yes. Identify below.
             Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                         corporation

             ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔ No

      Yes. Identify below.

             Name of the pension fund                                                                    Employer Identification number of the pension fund

             ______________________________________________________________                             EIN: ____________________________



 Part 14:           Signature and Declaration


            WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
            connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
            18 U.S.C. §§ 152, 1341, 1519, and 3571.

            I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
            is true and correct.

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on      04/06/2023
                             _________________
                              MM / DD / YYYY



            /s/ Amit Jain
            ___________________________________________________________                               Amit Jain
                                                                                         Printed name _________________________________________________
            Signature of individual signing on behalf of the debtor

                                                Manager
             Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
          No
         
         ✔ Yes




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 14
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                                                           Document      Page 83 of 90
 Debtor Name                                                                                  Case number (if known)



                                                      Continuation Sheet for Official Form 207
4) Payments or other transfers of property made within 1 year before filing this case that
benefited any insider

Amit Jain                                    445 Windover Ave NW,                          $23,000.00
                                             Vienna, VA 22180




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals
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 Fill in this information to identify the case and this filing:

              Eagle Properties and Investments LLC
 Debtor Name __________________________________________________________________

                                         Eastern District of Virginia
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔ Schedule H: Codebtors (Official Form 206H)

         
         ✔ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          Amended Schedule ____

         
         ✔ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    04/06/2023
        Executed on ______________                          /s/ Amit Jain
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Amit Jain
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Manager
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                             United States Bankruptcy Court
                             Eastern District of Virginia




         Eagle Properties and Investments LLC
In re:                                                           Case No.

                                                                 Chapter    11
                     Debtor(s)




                             Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              04/06/2023                         /s/ Amit Jain
Date:
                                                Signature of Individual signing on behalf of debtor

                                                 Manager
                                                Position or relationship to debtor
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ADT                                                   County of Henrico
P O Box 371878                                        Department of Finance, PO Box 90775
Pittsburgh, PA 15250                                  Henrico, VA 23273

Asset Based Lending                                   Dauphin County Office of Tax Claim Bureau
PO BOX 27370                                          Dauphin County Administration Building,
Anaheim, CA 92809                                     PO Box No 1295
                                                      Harrisburg, PA 17108
Atlantic Union Bank
8221 Old Courthouse Rd Ste 100,                       Department of Finance Howard county
Tysons, VA 22182                                      Property Tax Division, 3430, Court House
                                                      Ellicott City, MD 21043
Bala Jain
6007 Marilyn Dr.                                      Devon England
Alexandria, VA 22310                                  213 N Port St
                                                      Baltimore , MD 21224
Bala Jain LLC
6007 Marilyn Drive                                    Dominion Energy
Alexandria, VA 22310                                  P O Box 26543
                                                      Richmond, VA 23290
Bala Jain LLC
6007 Marilyn Drive                                    DTMA
Alexandria, VA 2310                                   670 Clearwater RD
                                                      Hershey, PA 17033
Bala Jain LLC
6007 Marilyn Drive                                    Fulton Bank
Alexandria, VA 2231-                                  625 Elden St,
                                                      Herndon, VA 20170
Bala Jain LLC
6007 Marilyn Drive                                    Gus Goldsmith
Alexandria, VA                                        18205 Biscayne Blvd Unit 2226 Aventura,
                                                      North Miami Beach, FL 33160
Bala Jain LLC
                                                      Gus Goldsmith
Bank Of Clarke                                        18205 Biscayne Blvd Unit 2226 Aventura
110 Crock Wells Mill Drive                            North Miami Beach, FL 33160
Winchester, VA 22603
                                                      Isidoro Pulido Luna
Bank Of Clarke County                                 202 N Port St
2 East Main Street
Berryville, VA 22611                                  Joshua Fowlers
                                                      580 W Areba Ave
Betsy Dalton                                          Hershey , PA 17033
1203 Cottage St Sw
Vienna, VA 22180                                      Lincoin Financing
                                                      9030 Stony Point Pkwy
Candice Goodman                                       Richmond, VA 23235
15474 Roxbury Rd
Glenwood, MD 21738                                    Lincoln Automotive Financial Services
                                                      PO Box 2400, Edmonton, Alberta, T5J 5C7,
City of Richmond
Division of Collections PO Box 26505                  Main Street Bank
Richmond, VA 23261                                    10089 Fairfax Blvd.
                                                      Fairfax, VA 22030
Community Bank Of Chesapeake
202 Centennial St,                                    Mayor and City Council Baltimore
La Plata, MD 20646                                    Bureau of Revenue Collections, 200 Holid
                                                      Baltimore, MD 21202
County of Fairfax
Department of Tax Administration, Revenu              Monika Jain
Suite 223                                             445 Windover Ave North West
Fairfax, VA 22035                                     Vienna, VA 22182
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Monika Jain
445 Windover Drive
Vienna
VA 22182

Orrstown Bank
77 East King Street
Shippensburg, PA 17257

Pennsylvania American Water
P O Box 371412
Pittsburgh, PA 15250

PPL Electric Utilities
827 Hausman Rd
Allentown, PA 18104

Stafford County
Laura M Rudy, Treasurer, PO Box 68
Stafford, VA 22555

Town Of Vienna Water and Sewer Bill
127 Center St
Vienna, VA 22180

Troy Mason
3002 Williamsburg Rd
Richmond , VA 23231

Turkey Hill
1635 Church Rd
Hershey , PA 17033

UGI Utilities Inc
400 Stewart Rd
Hanover, PA 18706

Verizon Fios
1430 Walnut St
Philadelphia, PA 19102

Virginia Partners Bank
4210 Plank Rd,
Fredericksburg, VA 22407

Washington Gas
6801 Industrial Rd
Springfield, VA 22151

Waste Management
P O Box 13577
Philadelphia, PA 19101

West Hanover Tap Water and Sewer
7091 Jonestown Rd
Harrisburg, PA 17112
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                                    UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF VIRGINIA

In re   Eagle Properties and Investments LLC                      Case Number:

                                      Debtor(s)

                   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR


1.      Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named
        debtor(s) and that compensation paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
        contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept…………………………………………………… $ __________
        Prior to the filing of this statement I have received………………..………………………….$ __________
        Balance Due…………………………………………………………………………………...$ __________

2.      The source of the compensation paid to me was:
        ฀ Debtor                      ฀ Other (specify)   Monika and Amit Jain and Metro Sales


3.      The source of compensation to be paid to me is:
        ฀ Debtor                      ฀ Other (specify)
4.      ฀ I have not agreed to share the above-disclosed compensation with any other person unless they are members and
          associates of my law firm.

        ฀ I have agreed to share the above-disclosed compensation with a person or persons who are not members or
          associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
          compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
        including:

        a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a
        petition in bankruptcy;

        b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
        c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
        thereof;

        d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
        e. [Other provisions as needed]
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 6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                     CERTIFICATION
 I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of
 the debtor(s) in this bankruptcy proceeding.


  04/06/2023
 _________________________                                       /s/ Nancy Greene, 38984
                                                                 _____________________________________________
 Date                                                            Signature of Attorney
                                                                  Law Offices of SRIS, P.C.
                                                                 _____________________________________________
                                                                 Name of Law Firm




     For use in Chapter 13 Cases where Fees Requested Not in Excess of $5,488
                    (For all Cases Filed on or after 01/01/2021)
   NOTICE TO DEBTOR(S), STANDING CHAPTER 13 TRUSTEE AND UNITED
                                STATES TRUSTEE
         PURSUANT TO LOCAL BANKRUPTCY RULE 2016-1(C) AND
                          CLERK’S CM/ECF POLICY 9

           Notice is hereby given that pursuant to Local Bankruptcy Rule 2016-1(C), you must file an objection with the court
 to the fees requested in this disclosure of compensation opposing said fees in their entirety, or in a specific amount, no later
 than the last day for filing objections to confirmation of the chapter 13 plan.



                                                  PROOF OF SERVICE
          The undersigned hereby certifies that on this date the foregoing Notice was served upon the debtor(s), the standing
 Chapter 13 trustee, and U. S. trustee pursuant to Local Bankruptcy Rule 2016-1(C) and the Clerk’s CM/ECF Policy 9, either
 electronically or in paper form (first class mail).


 04/06/2023
 _______________________________                                 /s/ Nancy Greene, 38984
                                                                 ___________________________________________
 Date                                                            Signature of Attorney




[2030edva ver. 01/21]
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                                           United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Eagle Properties and Investments LLC                                            11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Monika Jain                                                 100                     Other (Member)
 445 Windover Drive, Vienna, VA 22182
